




NO. 07-02-0267-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



JANUARY 8, 2003



______________________________





JOSE DEMETRO ARAUSA JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 64
TH
 DISTRICT COURT OF HALE COUNTY;



NO. A14185-0109; HONORABLE JACK R. MILLER, JUDGE



_______________________________



Before QUINN and REAVIS, JJ., and BOYD, SJ.
(footnote: 1)
	Upon his plea of guilty, appellant Jose Demetro Arausa Jr. was convicted of the offense of aggravated robbery and assessed a seven-year probated penal sentence and a fine of $1,000, with 180 days of the sentence to be served in the Hale County Jail. &nbsp;Appellant gave timely notice of appeal from the conviction.

However, other than the preparation and filing of a clerk’s and reporter’s record, no further action was taken towards pursuing the appeal. &nbsp;That state of affairs led us to abate and remand the case to the trial court for the purpose of determining why the appeal had not been properly pursued and if appellant still desired to appeal his conviction.

In compliance with this court’s direction, on December 19, 2002, the trial court held a hearing to determine those matters. &nbsp;Appellant was present at the hearing. &nbsp;At the completion of the hearing, the trial court made findings of fact and conclusions of law in which it found that although appellant was indigent, he did not desire the appointment of an attorney or to prosecute an appeal in this case and he wished the appeal to be dismissed. &nbsp;The trial court also found that it had not granted appellant permission to appeal his conviction after his guilty plea.

Accordingly, this appeal is hereby dismissed. &nbsp;Because the appeal is dismissed as a result of appellant’s request, no motion for rehearing will be entertained and our mandate will issue forthwith.



John T. Boyd

Senior Justice



Do not publish.

FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. &nbsp;Tex. Gov’t Code Ann. §75.002(a)(1) (Vernon Supp. 2002). 




